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NOTICE TO COUNSEL OF RECORD AND PARTIES

TO: John Salter, Jr., Roy Barnes, Cristina Correia, Elizabeth Monyak, Josiah Heidt
FROM: James Jarvis, Deputy Clerk

DATE: 9/19/2018

CASE NO.:  1:17-cv-2989-AT

SUBJECT: RECLAMATION AND DISPOSITION OF DOCUMENTARY EXHIBITS

Pursuant to Local Rule 79.1(D), you are hereby notified that the documentary exhibits in
the above styled case will be disposed of if you have not recovered same within 30 days
from the date of this letter. Any audio and video exhibits will be retained until after the time
for appeal has expired, or in appealed cases, until entry of the appellate court's mandate.

Please date and sign this Notice to acknowledge receipt, indicate how the exhibits should
be handled, and electronically file the signed Notice using the Exhibit Disposition
Notification event in CM/ECF. The event is located under the Other Documents heading.

Receipt of this Notice is hereby acknowledged. /s/John F, Salter
(Signature)

Documentary Exhibits will be picked up no later than 9/28/18
(Date)

LJ Documentary Exhibits may be destroyed. (Initials)

Note: If someone other than the attorney of record will be picking up exhibits, a letter of
authorization from the attorney of record is required.

Exhibits Received by:

(Signature)

This _. day of . , 2018

